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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No.        CV 20-10051 MWF (PVCx)                          Date: January 14, 2022
  Title           James Shayler v. MMWF Group LLC, et al.


  to resolve a genuine dispute on their own based on a legitimate question of law. As one
  court noted,

          The discovery rules are designed to be largely self-executing; the system
          relies on counsel’s integrity as members of the bar and officers of the Court
          to act with professionalism and reasonable diligence in meeting their
          obligations under the rules and under any specific court orders that may
          issue in a case.

  Synapsis, LLC v. Evergreen Data Sys., Inc., 2006 WL 2884413, at *1 (N.D. Cal. Oct. 10,
  2006). To accomplish this goal, “[c]ounsel are expected to cooperate with each other . . .
  to facilitate the exchange of discoverable information, and to reduce the costs of
  discovery.” Welden v. Nova Ortho-Med, Inc., 2013 WL 3367647, at *3 (W.D. Wash.
  July 5, 2013) (internal quotation marks omitted); see also Liguria Foods, Inc. v. Griffith
  Labs., Inc., 320 F.R.D. 168, 171 (N.D. Iowa 2017) (2015 revisions to discovery rules
  meant “to facilitate the disclosure of relevant information and to avoid conflicts by
  setting out the when, what, and how of discovery, as well as how to raise objections, in
  ways that should lead to the narrowing of issues and the resolution of disputes without
  the involvement of the courts”).

         In furtherance of the goal of facilitating the resolution of discovery disputes
  without court intervention, the Central District’s Local Rules require the parties to
  conduct a good faith conference of counsel. C.D. Cal. L.R. 37-1. “A good faith attempt
  to resolve the discovery dispute without court intervention involves more than ‘the
  perfunctory parroting of statutory language on the certificate to secure court
  intervention,’ and requires ‘a genuine attempt to resolve the discovery dispute through
  non-judicial means.’ Shufflemaster, Inc. v Progressive Games, Inc., 170 F.R.D. 166, 171
  (D. Nev. 1996); see also Reinsdorf v. Skechers U.S.A., Inc., 2012 WL 12878325, at *1
  (C.D. Cal. Jan. 30, 2012) (the meet and confer requirement in Local Rule 37-1 is intended
  to encourage “the parties to engage in a good faith effort to resolve the discovery requests


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